                                        NO. 12-24-00146-CV

                               IN THE COURT OF APPEALS

                 TWELFTH COURT OF APPEALS DISTRICT

                                            TYLER, TEXAS

HESTER M. FRY-LOFTIS                                      §   APPEAL FROM THE 369TH
(DECEASED), GAIL WALKER, EVA
HILL, JACQUELINE HOWARD, AND
LINDA PINNOCK,
APPELLANTS
                                                          §   JUDICIAL DISTRICT COURT
V.

THE COUNTY OF CHEROKEE, TX,
APPELLEE
                                                          §   CHEROKEE COUNTY, TEXAS

                                        MEMORANDUM OPINION
                                            PER CURIAM

         Appellants, Hester M. Fry-Loftis (deceased), Gail Walker, Eva Hill, Jacqueline Howard,
and Linda Pinnock, filed a motion to dismiss this appeal. The motion to dismiss is granted, and
the appeal is dismissed. See TEX. R. APP. P. 42.1(a). Costs are taxed against the party incurring
same.

Opinion delivered August 7, 2024.
Panel consisted of Worthen, C.J., Hoyle, J., and Neeley, J.
                                 COURT OF APPEALS

     TWELFTH COURT OF APPEALS DISTRICT OF TEXAS

                                          JUDGMENT

                                          AUGUST 7, 2024


                                        NO. 12-24-00146-CV


HESTER M. FRY-LOFTIS (DECEASED), GAIL WALKER, EVA HILL, JACQUELINE
                   HOWARD, AND LINDA PINNOCK,
                             Appellants
                                 V.
                  THE COUNTY OF CHEROKEE, TX,
                              Appellee


                               Appeal from the 369th District Court
                        of Cherokee County, Texas (Tr.Ct.No. 2006-10-0682)


                   THIS CAUSE came on to be heard on the motion of the Appellants to
dismiss the appeal herein, and the same being considered, it is hereby ORDERED, ADJUDGED
and DECREED by this Court that the motion to dismiss be granted and the appeal be dismissed,
and that the decision be certified to the court below for observance. Costs are taxed against the
party incurring same.


                   By per curiam opinion.
                   Panel consisted of Worthen, C.J., Hoyle, J. and Neeley, J
